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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

ALAN B. EICKHOFF,                         )
                                          )
               Plaintiff,                 )
v.                                        ) Case No. 4:21-CV-00434-SRW
                                          )
CITY OF FERGUSON, et al.,                 )
                                          )
               Defendants.                )

                 MEMORANDUM IN SUPPORT OF MOTION TO QUASH

         COMES NOW the City of Pevely (hereinafter sometimes referred to as “Pevely”),

by and through its attorney Allison Sweeney, and for its Memorandum in Support of

Motion to Quash, states as follows:

         Plaintiff, Alan Eickhoff was employed as the Chief of Police by Pevely from 2019-

2021. Pevely and Alan Eickhoff are currently engaged in litigation in Jefferson County

Circuit Court, cause number 21JE-CC00724. The underlying dispute between Pevely and

Alan Eickhoff stems from Mr. Eickhoff’s separation from employment with Pevely. The

underlying cause of action in the case at bar stems from Mr. Eickhoff’s separation from

employment from the City of Ferguson.

         On or about March 10, 2022, the City of Ferguson served on Pevely a subpoena

requesting Mr. Eickhoff’s personnel records. See Exhibit 1 attached to the Motion to

Quash filed herewith. Pevely is in possession of these records, believes they are relevant

to the litigation between the City of Ferguson and Mr. Eickhoff, and is able to produce

said records. However, the records requested may be closed pursuant to the Sunshine

Law. RSMo §610.021 states “except to the extent disclosure is otherwise required by law,




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a public governmental body is authorized to close meetings, records, and votes, to the

extent they relate to the following”. RSMo §610.021(13) specifies in relevant part:

       Individually identifiable personnel records, performance ratings or records
       pertaining to employees or applicants for employment, except that this
       exemption shall not apply to the names, positions, salaries and length of
       service of officers and employees of public agencies once they are
       employed as such.

       Caselaw is clear that when personnel records are requested as part of a criminal

prosecution, personnel records shall be produced. However, there is no caselaw on point

which directs movant regarding the production of personnel records to a party engaged

in civil litigation. Although litigation has just begun between Pevely and Mr. Eickhoff, Mr.

Eickhoff’s job performance is at issue in that litigation. It is reasonable to believe that the

contents of Mr. Eickhoff’s personnel file will become part of the court record during the

course of that litigation.

                                         CONCLUSION

       The City of Pevely seeks to quash the subpoena or in the alternative, prays the

Court enter a finding that the otherwise closed record is subject to disclosure during the

discovery process in civil litigation.


                                            /s/ Allison Sweeney
                                           Allison Sweeney               #62000

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                                               Certificate of Service

        The undersigned hereby certifies that on this 31st day of March, 2022, the foregoing
document was filed with the Clerk of the Court using the CM/ECF System which will send
notification of this filing to all attorneys of record in this matter.

                /s/ Allison Sweeney
March 31, 2022
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